Case 0:23-cv-61490-WPD Document 1-3 Entered on FLSD Docket 08/03/2023 Page 1 of 1




  t o A n n e Zi e gl er T ail or e d M a n a g e m e nt C o n c e pts S er vi c es
  O n M o n, M a y 2 2, 2 0 2 3 at 8: 4 7 A M A n n e Zi e gl er < a n n e @t m c -m a n a g e m e nt. c o m >
  wr ot e:
  I a m g oi n g t o w ait t o s e n d f or a p pr o v al u n �l all t h e n e e d e d it e ms ar e h er e s o
  pl e as e s e n d w h at y o u h a v e W e d. S o m e g et c er � ﬁ c at es f or t h e E S A a ni m al . If n ot,
  t h e v et r e c or ds a n d pi ct ur e al o n g wit h t his l e t er is w h at is n e e d e d. T h a n ks A n n e




                                                                                                              X HI BI T 223 3
                                                                                                            EEXHIBIT
